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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
Quicksilver Resources Inc., et al.,’ Case No. 15-10585 (LSS)
Jointly Administered
)
AFFIDAVIT OF SERVICE

STATE OF DELAWARE )
) ss
NEW CASTLE COUNTY __)

Frances A. Panchak, being duly sworn according to law, deposes and says that she is

employed by the law firm of Landis Rath & Cobb LLP, counsel to the Official Committee of Unsecured
Creditors in the above referenced cases, and on the 9" day of December, 2015, she caused a copy of the

following:

CERTIFICATE OF NO OBJECTION

to be served upon the parties identified on the attached list in the manner indicated.

Fiancee Gt Ctanchahe

Frances A. Panchak

SWORN TO AND Oona this 9" day of December 2015.

Notary Public

ERICA MYRICK RAUCCI
~ NOTARY PUBLIC
STATE OF DELAWARE
My Commission Expires January 6, 2016

\ The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are: Quicksilver Resources Inc. [6163]; Barnett Shale Operating LLC [0257]; Cowtown
Drilling, Inc. [8899]; Cowtown Gas Processing L.P. [1404]; Cowtown Pipeline Funding, Inc. [9774]; Cowtown
Pipeline L.P. [9769]; Cowtown Pipeline Management, Inc. [9771]; Makarios Resources International Holdings LLC
[1765]; Makarios Resources International Inc. [7612]; QPP Holdings LLC [0057]; QPP Parent LLC [8748];
Quicksilver Production Partners GP LLC [2701]; Quicksilver Production Partners LP [9129]; and Silver Stream
Pipeline Company LLC [9384]. The Debtors’ address is 801 Cherry Street, Suite 3700, Unit 19, Fort Worth, Texas

76102.

{1053.001-W0039687.}
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Quicksilver Resources, Inc., ef al.
C.A. No. 15-10585 (LSS)

Core Service List
{1053.001-W0035748.}

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